UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


    RICHARD ROSARIO,

                   Plaintiff,

              -against-
                                                         18-cv-4023 (LGS)
    THE CITY OF NEW YORK, et al.,


                 Defendants.




                            DECLARATION OF NICK J. BRUSTIN


         I, NICK J. BRUSTIN, an attorney duly admitted to the Southern District of New York,

declare under penalty of perjury:

         1.     I am a partner of the firm Neufeld Scheck & Brustin, LLP (“NSB”) 1 with offices

at 99 Hudson Street, 8th Floor, New York, New York 10013.

         2.     NSB has represented Plaintiff Richard Rosario since 2016 following the vacatur

of his conviction based on a reinvestigation by the Bronx County District Attorney’s Office that

concluded he had not received a fair trial. In January 2018, NSB filed this 42 U.S.C. § 1983

wrongful conviction lawsuit on his behalf against the City of New York, along with various other

individual defendants including New York City Police Detective Gary Whitaker. In August

2022, NSB obtained a jury verdict that Defendant Whitaker had maliciously prosecuted Mr.


1
    Formerly Cochran Neufeld & Scheck, LLP.



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Rosario and denied him a fair trial, causing him to spend nearly 20 years imprisoned for murder

he did not commit; the jury awarded Mr. Rosario $5 million in damages.

        3.      I have been co-lead counsel on this case, with my partner Emma Freudenberger,

since its inception.

        4.      I make this declaration in support of an application for attorney’s fees pursuant to

42 U.S.C. § 1988, covering the hours I have expended on this matter, as well as the compensable

costs incurred by NSB. I am fully familiar with the facts discussed herein.

                               EDUCATION AND EXPERIENCE

        5.      I graduated with a B.A from Brown University in 1988, received a master’s

degree in Educational Administration and Social Policy from the Harvard Graduate School of

Education in 1991, and received my J.D. degree from Fordham University School of Law in

1995. Since graduating from law school, I have focused almost exclusively on civil rights

litigation. I served as an Honors Program Trial Attorney with the Civil Rights Division of the

U.S. Department of Justice from 1995 to 1997. As a DOJ trial attorney, I worked on a variety of

complex civil rights cases including United States v. Mellete, a case that resulted in a

comprehensive consent decree designed to facilitate the integration of women at The Citadel, as

well as a number of continuing school desegregation cases in Mississippi, South Carolina, and

Georgia. I received an Outstanding Performance Award in 1997.

        6.      After leaving the Department of Justice, I worked from 1997 to 1999 at Beldock

Levine & Hoffman, LLP in New York, as an associate, where the majority of my practice was

devoted to civil rights and employment litigation. From 1998 to 1999, I was an adjunct professor



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of law at Fordham University School of Law, where I taught litigation skills. I have also

lectured on civil rights issues, including appearances at the annual NAACP Legal Defense and

Education Fund Civil Rights Conference and various civil rights continuing education seminars

around the country.

       7.      In 1999, I joined the boutique civil rights firm of Cochran Neufeld & Scheck,

LLP (“CNS”). I worked at CNS as an associate until 2003, when I became a partner. In 2009 I

became a named partner and our firm became Neufeld Scheck & Brustin, LLP (“NSB”).

       8.      In 2011, I was selected as a Wasserstein Public Interest Fellow at Harvard Law

School. My resume is attached as Exhibit A.

       9.      In the last two decades, I have litigated over 50 42 U.S.C. § 1983 wrongful

conviction cases, upon information and belief, as many as any other attorney in the country. On

information and belief, I have tried more wrongful conviction cases than any other attorney in

New York City. In the last 15 years I have only lost one jury trial.

       10.     This body of law, arising at the intersection of criminal procedure and civil rights,

is relatively new and swiftly evolving. These cases involve individual defenses of absolute and

qualified immunity and require a nuanced understanding of the differences between what it takes

to vacate a criminal conviction and the elements of civil liability, as well as the complexities of

proving that an underlying constitutional violation was part of a municipal custom or policy that

policymakers were on notice of, but deliberately indifferent to, in order to prevail.

       11.      To my knowledge, NSB is the only firm in the nation litigating these issues full-

time. My concentration on these issues over the last several years, as well as the years my



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partners Peter Neufeld, Barry Scheck, Anna Benvenutti Hoffmann, Emma Freudenberger, and

Amelia Green, have spent litigating these cases at NSB, made our work on Mr. Rosario’s case

much more efficient than it otherwise would have been. Indeed, the collective expertise NSB

possesses around the issues implicated in § 1983 wrongful conviction lawsuits enables our firm

to litigate far more effectively and efficiently than would otherwise be possible.

         12.    I have also litigated wrongful conviction and other serious police misconduct

cases in federal courts around the country, including in Alaska, Arizona, California, the District

of Columbia, Idaho, Illinois, Indiana, Kansas, Kentucky, Louisiana, Michigan, Mississippi,

Missouri, Montana, New Jersey, North Carolina, Ohio, Oklahoma, Rhode Island, Tennessee, and

Texas.

         13.    In addition to my trial experience, I also have taken hundreds of depositions in

wrongful conviction cases throughout the country, including numerous depositions of police

officers and third-party witnesses. Testimony from depositions I have taken is often instrumental

in settling cases or achieving success at trial.

         14.    During my tenure at NSB, I have actively litigated numerous wrongful conviction

cases that have been resolved successfully, notably including the following trial victories in the

Southern and Eastern Districts of New York: Restivo v. County of Nassau, No. 06-cv-6720

(E.D.N.Y.) (lead counsel at trial where jury awarded $36 million to plaintiffs in fabrication of

evidence case) and Deskovic v. City of Peekskill, et al., No. 07-CV-8150 (S.D.N.Y.) (lead

counsel at trial, securing a $41.65 million jury verdict for plaintiff wrongly imprisoned for 16

years—from age 16 until he was 32—for a rape and murder he did not commit).



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       15.     Other examples of successes at trial include: Trulove v. D’Amico, No. 16-cv-

00050 (N.D. Cal.) (lead counsel at trial, where jury awarded $10 million in damages to plaintiff

who spent six years in prison after being wrongfully convicted of murder); Gates v. District of

Columbia, No. 1:11-cv-00040 (D.D.C.) (co-lead counsel at trial, where jury found that District of

Columbia police officers had fabricated evidence and hid exculpatory evidence during plaintiff’s

trial for rape and murder, resulting in 28-year wrongful conviction, with the government

subsequently settling claims for $16.65 million); Howard v. City of Durham, No. 1:17-cv-00477

(M.D.N.C.) (lead counsel at trial where jury awarded $6 million to plaintiff after he spent

decades in prison for two murders he did not commit); Mann v. Walder, et al., No. BER-L-283-

07 (N.J. Super. Ct. Law Div.) (lead counsel at trial, securing a $2,272,274 jury award—first ever

in New Jersey for §1983 loss-of-life damages—for family of an unarmed Native American man

who was shot and killed by a New Jersey State Park Police officer); and Mayes v. City of

Hammond, No. 03 Civ. 379, (N.D. Ind.) (lead counsel at trial, securing a $9 million jury verdict

for plaintiff, who spent 19 years in prison for a rape he did not commit).

       16.     I have also successfully settled numerous cases, for example: Bryant v. Baltimore

Police Department, No. 1:19-cv-00384 (D. Md.) ($8 million settlement for plaintiff who spent

17 years wrongfully incarcerated before DNA exoneration as a result of police's suppression of

exculpatory evidence); Coley v. Simi Valley (C.D. Cal.) ($21 million settlement for wrongfully

convicted plaintiff who served 39 years in prison for murders of a woman and her 4-year-old

son); Tapp v. City of Idaho Falls, No. 4:20-cv-00476 (D. Idaho) ($11.7 million settlement in §

1983 wrongful conviction suit); Berry v. Las Vegas Metro. Police Dep’t, 19-cv-640 (D. Nev.)



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($14.5 million settlement in § 1983 wrongful conviction suit); Saunders v. City of Chicago, 12-

cv-09158 (N.D. Ill.) ($15.99 million total settlements for § 1983 wrongful conviction suit);

Deskovic v. City of Peekskill, et al., No. 07-CV-8150 (S.D.N.Y.) (over $23 million in

settlements, the largest total settlement amount for a wrongfully convicted individual, for

plaintiff wrongly imprisoned for 16 years—from age 16 until he was 32—for a rape and murder

he did not commit); Garcia v. City of New York, No. 08-CV-04274 (S.D.N.Y.) and Morillo v.

City of New York (two $7.5 million settlements following plaintiffs’ wrongful convictions for

murder); Sterling v. Monroe County, et al., No. 11-CV-6217 (W.D.N.Y.) (obtaining $8.625

million in settlement compensation for plaintiff, who served nearly 19 years in prison for a

murder he did not commit); Gonzalez v. City of Waukegan, No. 16-2906 (N.D. Ill.) ($9.5 million

settlement in § 1983 wrongful conviction suit); Lewis v. City of New Haven, No. 3:16-cv-1382

(D. Conn.) ($9.5 million settlement in § 1983 wrongful conviction suit); Courtney v. City of

Tulsa, No. 14-CV-308 (N.D. Okla.) ($8 million settlement in § 1983 wrongful conviction suit);

Allen v. City of St. Louis, No. 14-CV-01398 (E.D. Mo.) ($14 million settlement in § 1983

wrongful conviction suit); Mellen v. City of Los Angeles, No. CV15-03006 (C.D. Cal.) ($12

million settlement for wrongfully convicted plaintiff who served 17 years in prison for murder

based on Brady violation); Register v. City of Los Angeles, No. 14-CV-0568 (C.D. Cal.) ($16.7

million settlement for wrongfully convicted plaintiff who served 34 years in prison for robbery

and murder based on witnesses’ false identification); Bivens v. Forrest County, No. 13-CV-8

(S.D. Miss. 2016) ($16.5 million settlement to the estates of three African-American men

coerced into falsely confessing to the 1979 rape and murder of a white woman); Saunders v. City



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of Chicago, 12-cv-09158 (N.D. Ill.) ($15.99 million total settlements for § 1983 wrongful

conviction suit); Lowery v. Riley, No. 04-CV-03101-JTM (D. Kan.) ($7.5 million wrongful

conviction settlement); Chandler v. Louisville Jefferson County Metro Government, No. 3:10-

CV-470 (W.D. Ky.) ($8.5 million wrongful conviction settlement); and Gibbs v. City of New

York, et al., No. 06-CV-5112 (E.D.N.Y.) (obtaining $11.8 million in settlement compensation for

plaintiff, who was framed by “Mafia Cop” Louis Eppolito and served 18 years in prison for a

murder he did not commit).

        17.     Due to NSB’s recognized expertise in § 1983 wrongful conviction law, we are

regularly retained by attorneys throughout the United States, including lawyers from leading law

firms, to either act as co-counsel (including acting as lead counsel at trial), or take over litigation

of § 1983 wrongful conviction actions. I am personally regularly consulted by other experienced

civil rights lawyers on trial strategy.

        18.     For each of the last eight years, I, along with all the then-current partners at NSB,

have been named as a Super Lawyer.

                                      WORK IN THIS CASE

        19.     I am seeking compensation for the time I spent on this matter from July 2016 to

the present.

        20.     Over the years of this litigation, my role was as the co-lead counsel on the case.

As co-lead counsel, I supervised all aspects of the case’s prosecution, including the drafting of

the complaint, pre-filing investigation, and preparing Mr. Rosario for his N.Y. Gen. Municipal

Law § 50-h examination. I took 10 depositions in this case, including those of 3 Defendants, the



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key fact witnesses in the case (Michael Sanchez, Robert Davis and Nicole Torres), and the City’s

liability expert in eyewitness identifications, whom they subsequently decided not to call at trial

after her deposition. I made strategic decisions regarding discovery, as well as at the motion to

dismiss and summary judgment phases of the case.

       21.     I was co-lead counsel and prosecuted the trial with my partner Emma

Freudenberger, and my partners Anna Benvenutti Hoffmann, and Amelia Green. In preparation

for the ten-day trial, I worked with the assistance of those partners, and other NSB attorneys and

paralegals to outline examinations and evidence for the seventeen witnesses called at trial, and

examined six witnesses myself, including Defendant Whitaker, Plaintiff Richard Rosario, and

both witnesses that claimed to identify Mr. Rosario as the perpetrator. I oversaw all aspects of

trial strategy and presented the closing argument for the case.

       22.     I worked closely with Mr. Rosario from the outset, and was the primary lawyer

who prepared him for his deposition and trial testimony. Moreover, given his mental health

issues, I was required to play a far more hands-on role in preparing and managing Mr. Rosario

throughout discovery and trial. In many instances, I was the only attorney who he would

communicate with from NSB during mental health crises.

       23.     As set forth in the billing records attached as Exhibit B, Chart 1, which come

from contemporaneously kept timekeeping logs, I am seeking compensation for a total of 1,010.0

hours in this matter, excluding travel time and work on this fee application.

       24.     I have reviewed the attached billing record in its entirety, and made an effort to

take a conservative and reasonable approach to the total hours for which I seek compensation. In



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my judgment, each hour set forth in Exhibit B, Chart 1 was necessitated by the circumstances

and reasonably expended in pursuit of the ultimate favorable outcome in this complicated and

important civil rights case.

        25.     As set forth in the billing records attached as Exhibit B, Chart 2, which come

from contemporaneously kept timekeeping logs, I am seeking compensation for a total of 1.5

travel hours in this matter, at 50% of my hourly rate.

        26.     I have reviewed the attached billing record in its entirety, and made an effort to

take a conservative and reasonable approach to the total hours for which I seek compensation. In

my judgment, each hour set forth in Exhibit B, Chart 2 was necessitated by the circumstances

and reasonably expended in pursuit of the ultimate favorable outcome in this complicated and

important civil rights case.

                               WORK ON THE FEE APPLICATION

        27.     I am also seeking compensation for the time I spent on the § 1988 fee application

in this case.

        28.     As co-lead counsel, along with my partners Emma Freudenberger and Anna

Benvenutti Hoffmann, my role on the fee application was to provide strategic guidance, to assist

in coordinating the collection of a complete set of attorney declarations, to review the expenses,

and to review the briefing.

        29.     As set forth in the billing records attached as Exhibit B, Chart 3, which come

from contemporaneously kept timekeeping logs, I am seeking compensation for a total of 12.3

hours on the fee application.



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        30.     I have reviewed the attached billing record in its entirety, and made an effort to

take a conservative and reasonable approach to the total hours for which I seek compensation. In

my judgment, each hour set forth in Exhibit B, Chart 3 was necessitated by the circumstances

and reasonably expended in pursuit of the ultimate favorable outcome in this complicated and

important civil rights case.

                             REQUESTED RATE AND FEE AWARD

        31.     As almost all of NSB’s work is on a contingency basis on behalf of indigent

clients, I rarely bill by the hour.

        32.     In 2015, NSB represented a client in a civil rights suit who paid us by the hour for

the litigation. The hourly rate I was paid for that work was $650; in addition, NSB was entitled to

a percentage of recovery contingent on litigation success.

        33.     NSB has rarely had to litigate fee awards, as we have often been able to settle our

cases before this point in the litigation, or reach a settlement on the reasonable fees incurred. For

example, in 2018, defendants in Trulove v. D’Amico, No. 16-cv-00050 (N.D. Cal.) stipulated to

an attorneys’ fee payment based on time records in which my rate was $800 per hour.

        34.     When NSB has litigated fees, we have consistently been awarded rates at the very

top of the relevant market. For example, seven years ago, in another § 1983 wrongful conviction

suit litigated by NSB, the court found that due to NSB’s “particular expertise litigating § 1983

wrongful conviction suits” and that it had “successfully litigated dozens of such cases around the

country” it was entitled to the rates requested, up to $700 for senior partners, even though at the




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time that exceeded the highest prior hourly rate award in the Southern District. See Restivo, 2015

WL 7734100 at *3. I was awarded an hourly rate of $600 at that time.

       35.     Having been admitted to the New York bar in 1995, and having practiced in New

York for twenty-five years and having hired counsel for limited purposes in our cases, I am

familiar with the rates commanded by attorneys with similar credentials, skills and experience to

me in the New York market. A senior partner, with similar skills, credentials, and experience,

working at a firm in the Southern District of New York, regularly charges rates between $1500

and $2000 per hour. Loewenson Decl. ¶ 11.

       36.     Additionally, I am aware that NSB’s rates for senior partners are consistent with

those at Emery Celli Brinckerhoff Abady Ward & Maazel, LLP, a civil rights and commercial

law firm that charges $900-$950 per hour for senior partners. ECBAWM is the most similar

firm to NSB in the New York City market, and as such their rates are a benchmark for the

appropriate rates for payment. NSB’s rates requested here are aligned with the rates that

ECBAWM charges its clients. See Freudenberger Decl. Ex. 1, Declaration of Andrew G. Celli,

Jr. in Support of Plaintiff’s Motion for Attorney’s Fees ¶ 12.

       37.     On behalf of Plaintiffs, I am seeking compensation for my work at a rate of $900

per hour. In my opinion, this requested rate is reasonable in light of the relevant markets and my

experience, reputation, and skill.

                               EXPENSES INCURRED IN THIS CASE

       38.     In addition, NSB has incurred a total of $283,800.99 (see Exhibit C, Chart 1,

summary chart of expenses) in reasonable out-of-pocket expenses for which I seek



                                                11
reimbursement on Mr. Rosario’s behalf as part of NSB’s reasonable fee. This amount does not

include additional expenses that NSB incurred in connection with litigating this case, even

though NSB advanced those amounts out of pocket. Notably, NSB paid nearly $120,000 to

experts, which we do not seek reimbursement for here.

        39.     While a number of the categories of expenses included in our request here may be

separately taxable under 42 U.S.C. § 1920, because they are all also compensable under § 1988,

for simplicity, we have included all of our costs in this request.

        40.     NSB is requesting disbursements in connection with the following categories of

expenses: (a) deposition/discovery expenses; (b) investigation fees and expenses; (c) jury

consultant fees and expenses; (d) printing, copying and duplication costs; (e) process server fees;

(f) records requests and related court fees; (g) shipping costs; (h) transcript costs; (i) travel, car

service and meal expenses; (j) trial costs; (k) Westlaw and other research expenses; and (l)

witness fees.

        41.     As described in detail below, each of these categories of expense are of the type

normally charged to fee-paying clients.

        42.     Exhibit C, a record of NSB expenditures for this case, is taken from accounting

records contemporaneously maintained by NSB in the ordinary course of business. I have

reviewed the expenditures detailed in these records, and rely on those accounting records in

making this declaration. The only changes made to the accounting record have been to spell out

any abbreviations used, for the sake of clarity; and to sort the expenses into the compensable

categories detailed below.



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       43.     Throughout this litigation, Plaintiff has taken a conservative and reasonable

approach to the expenses and costs incurred. NSB has carried and continues to carry the majority

of the costs of this litigation, over its nearly 5-year lifespan. Therefore, we have placed a

particular emphasis on limiting expenditures to those that were reasonable and necessary in

pursuit of the ultimate favorable outcome in this complicated and important civil rights case. We

consistently and constantly shop around for vendors, get competitive pricing, and otherwise

make every effort to limit expenses incurred wherever possible.

       44.     All expenses were necessarily incurred in the course of this litigation.

                              A.      Deposition/Discovery Expenses

       45.     NSB requests a total of $60,008.71 for deposition costs. Attached as Exhibit C,

Chart 2 is an itemized record of NSB expenditures for deposition costs.

       46.     The requested deposition costs include both transcript and court reporter charges,

as well as videotaping service charges. These deposition charges were necessary, as

demonstrated by their use in support of Plaintiff’s opposition to summary judgment and/or as

impeachment material or in lieu of live witness testimony at trial in this case.

       47.     NSB regularly shopped around and negotiated the cost of court reporter services,

deposition transcripts, and videotaping services with outside vendors. Specifically, at the outset

of discovery, NSB had a paralegal contact a number of court reporting vendors and

videographers to obtain bids and negotiated, where possible, for discounted rates based on the

number of depositions that were set to be taken.




                                                 13
                                     B.      Investigation Costs

         48.   NSB requests a total of $34,979.29 for investigation costs. Attached as Exhibit C,

Chart 3 is an itemized record of NSB expenditures for investigation costs.

         49.   The requested investigation costs reflect fees for investigative services, spanning

six years of representation, and including locating and interviewing witnesses and records.

         50.   NSB regularly negotiated the cost associated with all investigation, and ensured

that these expenses were limited to those necessary to prosecution of this action. Specifically, in

instances where paralegals could accomplish an investigative task at a lesser expense, NSB chose

to have the paralegal carry out that investigative task.

                                C.        Jury Consultant Expenses

         51.   NSB requests a total of $88,831.00 for Plaintiff’s jury consultant. Attached as

Exhibit C, Chart 4 is an itemized record of NSB expenditures for the jury consultant.

                          D.      Printing, Copying & Duplication Costs

         52.   NSB requests a total of $18,334.00 for in-house printing, copying and duplication

costs.

         53.   Attached as Exhibit C, Chart 5 is an itemized record of NSB expenditures for

copying and duplication by outside vendors.

         54.   NSB has utilized the same internal copying and printing tracking system since this

case began. Under NSB’s system, each case is assigned an accounting number, and every copy

or print job requires entry of the appropriate case accounting number before the job can be

completed. The accounting number for Mr. Rosario’s § 1983 suit has been the same throughout



                                                 14
the life of the case. These in-house records were generated automatically by requesting a

computerized report for copying charges associated with the Rosario § 1983 suit’s accounting

number.

                                    E.        Process Server Fees

       55.     NSB requests a total of $2,830.57 for Plaintiff’s process servers. Attached as

Exhibit C, Chart 6 is an itemized record of NSB expenditures for the process servers used by

NSB.

                        F.      Records Requests and Related Court Fees

       56.     NSB requests a total of $789.20 for Plaintiff’s records requests and related court

fees. Attached as Exhibit C, Chart 7 is an itemized record of NSB expenditures for the records

requests and related court fees paid by NSB.

                                         G.     Shipping Costs

       57.     NSB requests a total of $1,044.83 for postage and shipping costs. Attached as

Exhibit C, Chart 8 is an itemized record of NSB expenditures for postage and shipping costs.

       58.     The requested shipping costs include both courier services (including UPS and

FedEx) and United States Postal Service postage charges, which are recorded as postage

reimbursements. These shipping charges included charges for serving documents, mailing letters

to the Court, and corresponding with experts and opposing counsel.

       59.     Throughout the litigation, NSB chose the most economical shipping method

available given the legal requirements for the shipment. Where shipping could be accomplished

by United States Postal Service first-class mail and did not require a return receipt or to be



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shipped by certified mail, NSB chose that method of shipment; NSB has not requested

reimbursement for any United States Postal Service first-class mail shipping.

                                        H.     Transcript Costs

        60.       NSB requests a total of $8,865.37 for transcript costs. Attached as Exhibit C,

Chart 9 is an itemized record of NSB expenditures for transcripts.

        61.       The requested transcript costs include transcript of the trial, which was used in the

prosecution of Mr. Rosario’s claims.

                                          I.      Travel Costs

        62.       NSB requests a total of $45,504.69 for travel costs. Attached as Exhibit C, Chart

10 is an itemized record of NSB expenditures for travel costs.

        63.       The requested travel costs include expenses for witnesses to attend depositions,

and transportation costs related to trial. These travel charges were necessarily incurred in the

course of this litigation.

        64.       NSB regularly shopped around for the lowest available rates for airfare and

lodging, and generally ensured that these expenses were limited to those necessary to prosecution

of this action.

        65.       For example, in securing lodging for Mr. Rosario and witnesses for the trial, NSB

had a paralegal shop each of the hotels in downtown Manhattan and negotiate rates before

booking.




                                                   16
                                           J.     Trial Costs

        66.       NSB requests a total of $9,459.08 for trial costs. Attached as Exhibit C, Chart 11

is an itemized record of NSB expenditures for trial costs.

        67.       The requested trial costs include costs associated with the presentation of exhibits

and video deposition testimony at trial, as well as typical out-of-pocket trial expenses, such as

office supplies.

        68.       NSB regularly negotiated the cost associated with each of these expenditures with

outside vendors, and ensured that these expenses were limited to those necessary to prosecution

of this action.

                                  K.      Westlaw/Research Charges

        69.       NSB requests a total of $13,417.48 for research charges, as reflected in Exhibit C,

Chart 12, reflecting billing records generated by Westlaw for our work in this case and organized

chronologically.

                                         L.      Witness Fees

        70.       NSB requests a total of $736.77 for witness fees. Attached as Exhibit C, Chart 13

is an itemized record of NSB expenditures for witness fees.

        71.       The requested witness fees include the statutory per diem for attendance of $40

per day, plus any mileage fees, for depositions and the first and second trial. These witness fee

charges were necessarily incurred in the course of this litigation.




                                                   17
I declare the foregoing to be true under the penalty of perjury.


Dated: October 7, 2022
New York, NY


                                                              /s/Nick J. Brustin
                                                              Nick J. Brustin




                                         18
